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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

  UNITED STATES OF AMERICA                        §
                                                  §
                                                  § CASE NO. 1:17-CR-00031-RC
  v.                                              §
                                                  §
                                                  §
  MARVIN JAMES RHINE (6)                          §
                                                  §


         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty

 Plea Before the United States Magistrate Judge. The magistrate judge recommended that the

 court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

 Defendant guilty on Count One of the Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS

 that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

 Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

 agreement until after review of the presentence report.

        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Marvin James Rhine, is
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 adjudged guilty as to Count One of the Indictment charging a violation of 18 U.S.C. § 1951

 (Conspiracy to Interfere with Commerce by Robbery).



             So Ordered and Signed
             Oct 11, 2017




                                             2
